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                          UNITED STATES BANKRUPTCY COURT
                            EASTERN DISTRICT OF VIRGINIA
                                 RICHMOND DIVISION

IN RE:
SARAH LYNNE WRIGHT                                                  BCN #: 17-36259-KRH
Debtor                                                              Chapter: 13
Address: 4918 Banbridge Court
Richmond, VA 23228
Last four digits of Social Security No.(s): XXX-XX-4223

                            NOTICE OF MOTION AND HEARING

       Your rights may be affected. You should read these papers carefully and discuss them
with your attorney, if you have one in this bankruptcy case. If you do not have an attorney, you
may wish to consult one.

        If you do not wish the Court to grant the relief sought in this motion, or if you want the
Court to consider your views on this motion, then within fourteen (14) days from the date of
service of this motion, you must file a written response explaining your position with the Court at
the following address: Clerk of Court, United States Bankruptcy Court, 701 East Broad Street,
Room 4000, Richmond, VA 23219-3515, and serve a copy on the Movant. Unless a written
response is filed and served within this fourteen day period, the Court may deem any opposition
waived, treat the motion as conceded, and issue an Order granting the requested relief without
further notice or hearing.

       If you mail your response to the Court for filing, you must mail it early enough so the
Court will receive it on or before the expiration of the fourteen day period.

       You may attend the preliminary hearing scheduled to be held on: May 16, 2018 at 11:00
AM in Courtroom 5000, United States Bankruptcy Court, 701 East Broad Street, Richmond, VA
23219.




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       If you or your attorney do not take these steps, the Court may decide that you do not
oppose the relief sought in the motion and may enter an Order granting the requested relief.


SHAPIRO & BROWN, LLP                                         Dated: April 25, 2018
ATTORNEYS FOR THE MOVANT

/s/ Mary F. Balthasar Lake
BY: Gregory N. Britto, Esquire, VSB #23476
William M. Savage, Esquire, VSB #26155
Malcolm B. Savage, III, Esquire, VSB #91050
Thomas J. Gartner, Esquire, VSB #79340
Mary F. Balthasar Lake, Esquire, VSB #34899
Leonard C. Tengco, Esquire, VSB #76395
SHAPIRO & BROWN, LLP
501 Independence Parkway, Suite 203
Chesapeake, Virginia 23320
(703) 449-5800
VABECF@logs.com


                                  CERTIFICATE OF SERVICE


        I certify that I have this 25th day of April, 2018, electronically transmitted and/or mailed
by first class mail, postage pre-paid, a true copy of the foregoing Notice of Motion to the
following:

JAMES H. WILSON, JR.
4860 COX ROAD
SUITE 200
GLEN ALLEN, VA 23060

Carl M. Bates
P. O. Box 1819
Richmond, VA 23218

Sarah Lynne Wright
4918 Banbridge Court
Richmond, VA 23228


/s/ Mary F. Balthasar Lake
Gregory N. Britto, Esquire, VSB #23476
William M. Savage, Esquire, VSB #26155
Malcolm B. Savage, III, Esquire, VSB #91050
Thomas J. Gartner, Esquire, VSB #79340
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Leonard C. Tengco, Esquire, VSB #76395


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                                  United States Bankruptcy Court
                                   Eastern District of Virginia
                                       Richmond Division

In Re:                                              BCN#: 17-36259-KRH
Sarah Lynne Wright                                  Chapter: 13
        Debtor
DLJ Mortgage Capital, Inc.
or present noteholder,
        Movant/Secured Creditor,                    Motion for Order Granting Relief from
v.                                                  Automatic Stay under 11 USC §362
Sarah Lynne Wright
        Debtor
and
Carl M. Bates
        Trustee
        Respondents

       Select Portfolio Servicing, Inc., as servicing agent for DLJ Mortgage Capital, Inc., and/or

present noteholder, (hereinafter “the Movant”), alleges as follows:

       1.        That the bankruptcy court has jurisdiction over this contested matter pursuant to

28 U.S.C. § 157 and § 1334 and 11 U.S.C. § 362; Federal Rule of Bankruptcy Procedure 9014;

and Local Bankruptcy Rule 4001(a)-1.

       2.        That the above named Debtor filed a Chapter 13 Petition in Bankruptcy with this

Court on December 20, 2017.

       3.        That Carl M. Bates has been appointed by this Court as the Chapter 13 Trustee in

this instant Bankruptcy proceeding.

       4.        That the subject Deed of Trust secures a parcel of real property (hereinafter “the

Property”) with the address of 4918 Banbridge Court, Richmond, VA 23228 and more

particularly described in the Deed of Trust dated December 13, 2007 and recorded as Deed Book

4449, Page 0874 among the land records of the said city/county, as:


       ALL that certain lot, piece, or parcel of land with improvements thereon and
       appurtenances thereto belonging lying and being in Brookland District, Henrico
       County, Virginia, designated as Lot 28, Block A, Forest Green II of Shannon
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        Green, Section 11, all as more particularly shown on plat of survey made by
        Bodie, Taylor & Puryear, Inc.; dated March 7, 1985, recorded May 7, 1985, in the
        Clerk's Office, Circuit Court, Henrico County, Virginia, in Plat book 81, pages 32
        and 33, and to which plat reference is hereby made for a more particular
        description.

        5.       The entity which has the right to foreclose is: DLJ Mortgage Capital, Inc. by

virtue of being the holder and owner of the Note.

        6.       That the Movant is informed and believes, and, based upon such information and

belief, alleges that title to the Property is currently vested in the name of the Debtor.

        7.       That the Debtor is in default with regard to payments which have become due

under the terms of the Note and Deed of Trust since the filing of the Chapter 13 petition.

        As of April 18, 2018, the Debtor is due for:
        o        3 post-petition monthly payments from February 2018 through April 2018 of
                 $1,486.92 each which were to be paid directly to Movant;
        o        Suspense Balance of                                          -$878.31


        8.       That as of April 18, 2018, the principal balance on the said Note is $182,573.39.

        9.       That the Movant has elected to initiate foreclosure proceedings on the Property

with respect to the Deed of Trust, but is prevented by the Automatic Stay from going forward

with these proceedings.

        10.      That the Movant is informed and believes, and, based upon such information and

belief, alleges that the Debtor has little or no equity in the property.

        11.      That continuation of the automatic stay pursuant to 11 U.S.C. § 362(a) will work

real and irreparable harm and deprive the Movant of the adequate protection to which it is

entitled under 11 U.S.C. § 362.

        12.      That the Movant has requested that the Court hear this matter on May 16, 2018 at

11:00 AM.



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       WHEREFORE, Movant prays for an order granting relief from the Automatic Stay in

order to pursue its remedies under the terms of its Note and Deed of Trust, that the fourteen (14)

day waiting period imposed by F.R.B.P. 4001(a)(3) be waived, for its attorneys fees’ and costs

expended, and for such other and further relief as the Court and equity deem appropriate.

SHAPIRO & BROWN, LLP                                        Dated: April 25, 2018
ATTORNEYS FOR THE MOVANT




/s/ Mary F. Balthasar Lake _______
BY: Gregory N. Britto, Esquire
VSB #23476
William M. Savage, Esquire
VSB #26155
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                                       Certificate of Service



        I certify that I have this 25th day of April, 2018, electronically transmitted and/or mailed
by first class mail, true copies of the Motion for Relief from the Automatic Stay and Notice of
Motion and Hearing to each party required to receive notice.

JAMES H. WILSON, JR.
4860 COX ROAD
SUITE 200
GLEN ALLEN, VA 23060

Carl M. Bates
P. O. Box 1819
Richmond, VA 23218

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4918 Banbridge Court
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